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14   CITY AND COUNTY OF SAN FRANCISCO, et al.

15                                 UNITED STATES DISTRICT COURT

16                               NORTHERN DISTRICT OF CALIFORNIA

17    COALITION ON HOMELESSNESS; TORO                Case No. 4:22-cv-05502-DMR
      CASTAÑO; SARAH CRONK; JOSHUA
18    DONOHOE; MOLIQUE FRANK; DAVID                  [PROPOSED] ORDER GRANTING
                                                     DEFENDANTS’ MOTION TO DISMISS THE
      MARTINEZ; TERESA SANDOVAL;                     THIRD AMENDED COMPLAINT
19
      NATHANIEL VAUGHN,
20                                                   Hearing Date:       February 13, 2025
             Plaintiffs,                             Time:               1:00 p.m.
21                                                   Place:              Courtroom 4 – 3rd floor
             vs.                                                         1301 Clay Street
22                                                                       Oakland, CA 94612
      CITY AND COUNTY OF SAN
23    FRANCISCO, et al.,                             Trial Date:         July 28, 2025

24           Defendants.

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      [PROPOSED] ORDER GRANTING CCSF’S MTD TAC                                n:\govlit\li2024\230239\01808083.docx
      CASE NO. 4:22-cv-05502-DMR
          Case 4:22-cv-05502-DMR           Document 295-1         Filed 01/02/25      Page 2 of 2




 1                                          [PROPOSED] ORDER

 2           Defendants City and County of San Francisco, San Francisco Police Department, San

 3   Francisco Department of Public Works, San Francisco Department of Homelessness and Supportive

 4   Housing, San Francisco Fire Department, and San Francisco Department of Emergency Management’s

 5   (collectively, the “City”) Motion to Dismiss for Lack of Subject Matter Jurisdiction came on regularly

 6   for hearing on February 13, 2025, at 1:00 p.m., in the United States District Court, Northern District,

 7   Courtroom 4 – 3rd floor, 1301 Clay Street, Oakland, CA, the Honorable Donna M. Ryu presiding.

 8   Plaintiffs and Defendants appeared through their respective counsel of record.

 9           Having carefully considered the motions and the papers submitted, and having heard the

10   arguments of counsel, the Court hereby GRANTS the City’s motion to dismiss all claims pursuant to

11   Federal Rule of Civil Procedure 12(b)(1) because no plaintiff has standing to sue. Alternatively, as to

12   the Coalition on Homelessness, the Court finds that Coalition on Homelessness cannot state its claims

13   as a matter of law pursuant to Federal Rule of Civil Procedure 12(b)(6).

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15           IT IS SO ORDERED.

16

17   DATE:
                                                  The Honorable Donna M. Ryu
18                                                UNITED STATES DISTRICT COURT
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      [PROPOSED] ORDER GRANTING CCSF’S MTD TAC              1                      n:\govlit\li2024\230239\01808083.docx
      CASE NO. 4:22-cv-05502-DMR
